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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JOSHUA HUGHES, ET AL.,

                   Plaintiff,            Civil Action No.: 2:18-cv-01235-MRH
         v.
                                         Judge Mark R. Hornak
NATIONWIDE BANK,

                   Defendant.



   DEFENDANT NATIONWIDE BANK’S BRIEF IN OPPOSITION TO PLAINTIFF’S
               MOTION TO DETERMINE CHOICE OF LAW

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I.         INTRODUCTION

           In the operative Complaint, Hughes claims that the Bank’s repossession notices violated

Pennsylvania UCC sections 13 Pa. CSA § 9613 (Repossession Notice) and 13 Pa. CSA § 9616

(Post-Sale Notice). Hughes seeks to represent a nationwide class where claims under each

state’s respective UCC are “substantially similar” to Pennsylvania law. Compl. at ¶ 40 [dkt.1].

The Bank moved to dismiss or strike the class allegations, among other relief, arguing Hughes

lacked standing to assert non-Pennsylvania claims, and state variations of the UCC precluded a

nationwide class. Bank’s 12(c) Mot. 1 [dkt.31]. The parties stipulated Hughes could oppose the

Rule 12(c) Motion by March 7, 2019. Order [dkt.37].

           Instead of responding, Hughes requested this Court to declare Ohio law applies to the

claims and allegations presented in future complaints. Pls. COL Mot.2 [dkt.39]. Hughes also

requested that the Bank’s 12(c) Motion be held in abeyance, until choice-of-law is settled. See

id. Days later, Hughes moved for a continuance to file a new complaint. The Court denied the

continuance and ordered that a motion for leave to amend be filed on March 18, 2019. Pls. Mot.

Cont. [dkt.41]; Order [dkt.43]. In these serial filings, Hughes seeks to avoid the problems of

standing and state law variation by applying Ohio law to the nationwide class. See Pls. COL

Mot. 14. This Motion is procedurally and substantively improper and should be denied.

II.        ARGUMENT

           A.       Plaintiff’s Motion Is Procedurally Improper And Should Be Denied.

           Plaintiff’s Motion is procedurally improper for multiple reasons. First, plaintiff is

master of the complaint and decides the law to rely upon in seeking relief. Fair v. Kohler Die

& Spec. Co., 228 U.S. 22, 25 (1913) (“Of course, the party who brings a suit is master to decide


1
    Bank’s Br. Supp. R.12(c) Mot. Par. J. Plds. & R.23(d) Mot. Strike Class Allegs. [dkt. 31](“Bank’s 12(c) Mot.”).
2
    Br. Supp. Pls. Mot. To Determine Choice of Law [dkt. 39] (“Pls. COL Mot.”).

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what law he will rely upon.”) (Holmes, J.) (emphasis added). By choosing the allegations,

plaintiff can eschew a federal forum or avoid state law claims—and litigate a case on his own

terms. Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987) (no federal claims pleaded;

federal court avoided); Colon v. Mtn. Creek Waterpark, 2009 WL 3172862, at *3 (D.N.J. Sept.

30, 2009) (adjudication limited to state claims actually alleged in Complaint). But with this

initial choice, Plaintiff cannot assert claims outside the Complaint, and cannot raise new

allegations in a brief. Pa. ex rel Zimmerman v. PepsiCo, 836 F.2d 173, 181 (3d Cir. 1988) (“it is

axiomatic that the complaint may not be amended by the briefs”); Mayon v. Wetzel, 2017 WL

1211626, at *3 (W.D. Pa. April 3, 2017) (court cannot consider unpleaded allegations).

         Second, Plaintiff cannot assert Ohio claims through constructive amendment, as the

Bank objects to adjudication of unpleaded claims. “The function of a complaint is to give

defendants fair notice of plaintiff’s claims and the grounds on which they rest … .” McCree v.

SEPTA, 2009 WL 166660, at *9 (E.D. Pa. Jan. 22, 2009) (internal quotation omitted). With a

constructive amendment, courts may address unpleaded claims only if a party gives “express or

implied consent,” and the unpleaded claim is “squarely presented and foisting no surprise.” Id.;

Fed. R. Civ. P. 15(b). If there is an objection, unpleaded claims cannot be adjudicated. Douglas

v. Owens, 50 F.3d 1226, 1236 (3d Cir. 1995) (objection to unpleaded claim; reversing

adjudication of constructive amendment); Schultz v. Cally, 528 F.2d 470, 474-75 (3d Cir. 1975)

(constructive amendment impermissible where doubt existed as to defendant’s agreement).

         Third, federal courts cannot render advisory opinions on unpleaded claims. Courts

adjudicate actual “cases or controversies,” and do not advise “what the law would be on a

hypothetical state of facts.” Chafin v. Chafin, 568 U.S. 165, 172 (2013). This constitutional

precept applies where plaintiff seeks a ruling on claims not properly before the court. Benson v.



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Smith, 1993 WL 311238, at *2 (E.D. Pa. Aug. 12, 1993) (request was nonjusticiable advisory

opinion; sought a ruling if state action resulted in property loss); Colon, 2009 WL 3172862, at *3

(court cannot address unpleaded state product liability claim); In re Trichilo, 540 B.R. 547, 551

(Bankr. M.D. Pa. 2015) (court may not “render any advisory opinion” on unpleaded claims).

         These principles require denial of the Choice-of-Law Motion. As pleaded, Hughes’s

individual claim arises under Pennsylvania law; and the purported class claims are defined in

reference to the Pennsylvania UCC. Compl. ¶ 19-39 (individual claims under Pa. UCC); id.

¶ 40-41 (class claims refer to Pa. UCC). The alleged facts also support the application of

Pennsylvania law. Id. ¶ 16-18 (Pennsylvania is where Hughes resides, the vehicle was

repossessed, and the Bank does business). Hughes even admits Pennsylvania law applies:

“Plaintiff refers to Pennsylvania citations in this Complaint because his claims fall under

the Pennsylvania UCC.” Id. ¶ 20 n.1 (emphasis added).

         Despite these judicial admissions, Plaintiff asks this Court to recast his suit under Ohio

law. But the Bank objects to this constructive amendment. Even passing that fact, myriad

practical problems abound. Ohio law cannot apply to a Pennsylvania statutory claim. Choice-

of-law principles require claim-by-claim application. Without an operative Complaint alleging

new facts and causes of action, there is nothing to apply choice-of-law principles to. Such a

hypothetical analysis is a request for an advisory opinion and should be denied.

         B.        The Contract Terms Require The Choice Of Pennsylvania Law.

         Plaintiff seeks leave to file an amended complaint3 to avoid these procedural errors. But

even if leave is granted and the claims are recast under Ohio law, Pennsylvania law still applies.




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  The Bank reserves the right to oppose the motion for leave to amend in order to apply this choice-of-law analysis
to the as-yet-unpleaded claims.

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         “Pennsylvania courts generally honor the intent of the contracting parties and enforce

choice of law provisions in contracts executed by them.” Kruzits v. Okuma Mach. Tool, Inc., 40

F.3d 52, 55 (3d Cir. 1994). Here, the contract terms determine choice of law for repossession:

         Governing Law. This Agreement will be governed by and interpreted in accordance
         with federal law and the laws of the State of Ohio, except and only to the extent of
         procedural matters related to the perfection and enforcement of Lender’s rights and
         remedies against the Property, which will be governed by the laws of the
         Commonwealth of Pennsylvania.

Consumer Security Agreement (“CSA”) at 2, Compl. Ex. B [dkt.1-2]. The CSA defines words

and phrases to ensure the terms are unambiguous. “Property” is defined as Hughes’s vehicle,

and “Lender” is defined as the Bank. Id. The “perfection and enforcement of Lender’s rights

and remedies” is also defined, and made subject to the procedural requirements of the UCC:

         LENDER’S RIGHTS. I may keep and use the Property so long as I am not in default
         under this Agreement. If I am in default, this is what Lender may do, in addition to any
         other rights Lender may have:

         Other Rights and Remedies. In addition, Lender will have all the rights of a secured
         party under the Uniform Commercial Code and other applicable law. This means,
         among other rights, that Lender may enter upon the premises at the address shown above
         and take the Property peaceably and sell it. Lender may also, to the extent permitted
         by law, enter peaceably upon other premises for the purpose of retaking the Property,
         and I consent to such entry … .

         Application of Proceeds. If Lender sells the Property, Lender will apply the “net
         proceeds” of the sale to reduce the amounts owed Lender. “Net proceeds” means the sale
         price less the expenses of repossession, repair, sale, and as provided below, reasonable
         attorneys fees and other collection expenses.

Id.at 2 (emphasis added). The CSA includes procedural notice requirements relating to the

enforcement of Lender’s rights:

         Notice. … Lender will give me, and other persons as required by law, reasonable notice
         of the time and place of any public sale or of the time after which any private sale or any
         other intended disposition of any property is to be made. The requirements of reasonable
         notice shall be met if such notice is given at least ten (10) days before the time of the sale
         or disposition, except as otherwise required by applicable law.



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Id. at 2 (emphasis added).

         These terms require the choice of Pennsylvania law. In short, the CSA defines the

“perfection and enforcement of Lender’s rights and remedies” as the act of repossession of a

security interest under the UCC. The security interest—“the Property”—is defined as Hughes’s

car. The “procedural matters” relating to “perfection and enforcement” refers to the application

of Lender’s rights under the UCC for repossession and the notice requirements spelled out in the

contract. Accordingly, the repossession of Hughes’s car is “governed by the laws of the

Commonwealth of Pennsylvania”—namely the Pennsylvania UCC. Indeed, this is why Plaintiff

admitted that Pennsylvania law applies to the UCC claims in his initial Complaint. See Compl.

¶ 20 n.1 Accordingly, this Court should deny the Motion.

         C.        Contract Interpretation Rules Require The Choice Of Pennsylvania Law.

         This reading is consistent with the rules of contract interpretation adopted by

Pennsylvania and Ohio. Both states note that a “fundamental rule in construing a contract is to

ascertain and give effect to the intent of the contracting parties.” Mace v. Atl. Ref. Mktg. Corp.,

567 Pa. 71, 80 (2001); Skivolocki v. E. Ohio Gas Co., 38 Ohio St. 2d 244, 247 (1974) (“contracts

are to be interpreted so as to carry out the intent of the parties ….”). Each note that the parties’

intent in a “written contract is contained in the writing itself.” Shovel Tr. & Stor., Inc. v. Pa. Liq.

Cont. Bd., 559 Pa. 56, 65 (1999); Lutz v. Chesapeake Appalachia, LLC, 148 Ohio St. 3d 524, 526

(2016) (same). When the “words of a contract are clear and unambiguous, the meaning of the

contract is ascertained from the contents alone.” Mace, 567 Pa. at 80 (2001); Transtar Elec. v.

AEM Elec. Servs. Corp., 140 Ohio St. 3d 193, 196 (2014) (“When the language of a written

contract is clear, a court may look no further than the writing itself ….”).

         Critically, contract interpretation in both states require that “all provisions in the

agreement will be construed together and each will be given effect.” LJL Transp., Inc. v. Pilot

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Air Freight Corp., 599 Pa. 546, 559–60 (2009); Sunoco, Inc. v. Toledo Edison Co., 129 Ohio St.

3d 397, 408 (2011) (“In interpreting a contract, we are required, if possible, to give effect to

every provision of the contract.”). Pennsylvania and Ohio courts “will not interpret one

provision of a contract in a manner which results in another portion being annulled.” Lesko v.

Frankford Hosp.-Bucks Cty., 609 Pa. 115, 123 (2011); Foster Wheeler Enviresponse, Inc. v.

Franklin Cty., 78 Ohio St. 3d 353, 362 (1997) (“If one construction … would make [a clause]

meaningless, and it is possible to give it another construction that would give it meaning and

purpose, then the latter construction must obtain.”).

         Despite these rules of construction, Plaintiff argues that the contract requires the

application of the Ohio UCC to Hughes’s individual claim and every absentee class member on a

nationwide basis. Pl.’s COL Mot. at 11. But this renders many of the CSA terms surplusage and

distorts the common meaning of words and phrases.

         First, Plaintiff argues that the first sentence of the CSA’s Governing Law provision

generally requires the application of Ohio law. Pl.’s COL Mot. at 2. While true, the second part

of that first sentence also requires the application of Pennsylvania law to the “perfection and

enforcement of Lender’s rights and remedies.” CSA at 2.

         Second, Plaintiff argues that under the Pennsylvania UCC, “perfection” in the Governing

Law provision relates only to the priority of payment and does not relate to repossession. Pl.’s

COL Mot. at 12. As detailed below, this is wrong; perfection under the UCC is necessarily

connected to the concepts of a security interest, attachment, enforcement, and default. And

focusing on “perfection” impermissibly renders the next word—“enforcement”—meaningless.

         Third, Plaintiff ignores the plain meaning of the word “enforcement,” defined as the “act

or process of compelling compliance with [an] … agreement.” Black’s Law Dictionary (2014,



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Westlaw edition). Here, “enforcement” is naturally understood as the act of enforcing Lender’s

rights in the Property granted through the CSA and UCC—namely through repossession.

         Fourth, Plaintiff’s reading renders the entire “Lender’s Rights” section of the CSA as

surplusage. To be clear, the “Lender’s Rights” section: is five paragraphs long; notes the Lender

has the rights of a secured party under the UCC; that such rights include repossession of the

Property; and that the Lender is subject to procedural requirements, like peaceable entry and

notice to the debtor. CSA at 2. The Governing Law term then makes clear that Pennsylvania

law must be applied to matters relating to these “Lender’s Rights”—like repossession.

         Not surprisingly, courts analyzing contracts under Ohio and Pennsylvania law do not

permit rendering contractual terms surplusage, especially when a different reading gives every

term meaning. See LJL Transp., 599 Pa. at 566-67 (multiple termination provisions must be read

in concert so that each is given effect); Sunoco, 129 Ohio St. 3d at 408 (government’s

interpretation rendered most-favored-nation clause surplusage; Ohio S.Ct. harmonized terms to

give clause meaning); Lesko, 609 Pa. at 125-26 (harmonizing compensation terms so they are not

inconsistent); Foster Wheeler, 78 Ohio St. 3d at 363 (contract cannot be interpreted so that terms

are annulled); see also Kruzits, 40 F.3d at 55-56 ) (interpreting choice of law provision to give it

effect). Accordingly, this Court should deny the Motion.

         D.        The Pennsylvania UCC And The Contractual Terms Use Identical Language
                   And Require The Choice Of Pennsylvania Law.

         Plaintiff claims that the choice of Pennsylvania law in the contract cannot apply to

repossession, because “perfection” relates only to “priority of the holder of a perfected security

interest in goods against subsequent purchasers.” Pl.’s COL Mot. at 12. But this is wrong. Both

the Pennsylvania UCC and the CSA use the terms “perfection and enforcement” in identical

ways, and both require the application of Pennsylvania law.


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         The Pennsylvania UCC defines a “security interest” as “an interest in personal property

or fixtures which secures payment or performance of an obligation.” 13 Pa. CSA § 1201(b)(35).

Division Nine of the Pennsylvania UCC (Article 9 of the Model UCC), sets forth a

comprehensive statutory regime governing secured transactions that involve these security

interests. 13 Pa. CSA § 9101 et seq. Procedures for secured transactions are laid out in serial

sections of Division Nine, and include attachment, perfection, and enforcement.

             Attachment—the act by which a lender or obligor connects a security interest to both
              the collateral (personal property) and the obligation (a loan). 13 Pa. CSA § 9203(a).
             Perfection—the process of validating an attachment providing notice to others of the
              obligor’s (lender’s) security interest in the collateral. 13 Pa. CSA § 9301 et seq.
             Enforcement—the act by which the secured party exercises its rights to the security
              interest attached and perfected against the collateral, usually because the debtor has
              defaulted on the loan. 13 Pa. CSA § 9203(b).

         The particular procedures for attachment, perfection, and enforcement depend on the

particular type of property. For example, a security interest attaches to a car when “value has

been given, the debtor has rights in the collateral and the debtor authenticated a security

agreement that has a description of the collateral or the creditor has taken possession of the

collateral.” In re Dean, 2012 WL 4634291, at *3 (Bankr. M.D. Pa. Oct. 1, 2012) (citing 13

Pa.CSA § 9203(b)). Perfection of a security interest attached against a car titled in Pennsylvania

must occur under Pennsylvania law. 13 Pa. CSA § 9303 (requiring application of Pennsylvania

law to perfection for property with a certificate of title). In short, the car title must contain “a

notation of security interest with the [Pennsylvania] Department of Transportation” pursuant to

the Motor Vehicle Code. KDG Auto Sales, Inc. v. Asta Funding, Inc., 781 A.2d 202, 204 n. 4

(Pa. Super. 2001); In re Dean, 2012 WL 4634291, at *3. A lender with a perfected security

interest can then enforce his interest after the debtor’s default in a variety of ways. These

enforcement procedures are laid out in subsequent sections of Division Nine, 13 Pa. CSA § 9601,



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et seq., and include repossession. 13 Pa. CSA §§ 9613-16. Furthermore, the enforcement

procedures specifically incorporate perfection and priority of payment. 13 Pa. CSA §§ 9611

(requiring notification of perfected interest during enforcement).

         Pennsylvania case law similarly recognizes the interdependent nature of attachment,

perfection, enforcement, and repossession. See In re Barry, 559 B.R. 654, 661 (Bankr. M.D. Pa.

2016) (“[P]erfection of a security interest first requires attachment.”); Interbusiness Bank, N.A. v.

First Nat’l Bank of Mifflintown, 318 F. Supp. 2d 230, 240 (M.D.Pa. 2004) (“Without attachment,

there can be no perfection.”); In re Dean, 2012 WL 4634291, at *3 (noting “possession is an

alternative method by which an enforceable security interest may be created and attach”);

Chambersburg Tr. Co. v. Eichelberger, 403 Pa. Super. 199, 207 (1991) (“For most types of

property, filing the agreement and taking possession are alternative methods of perfection of a

security interest.”); Goldenstein v. Repossessors Inc., 815 F.3d 142, 147 (3d Cir. 2016)

(“Pennsylvania law expressly permits a secured party to take possession of the collateral …

without judicial process if it proceeds without breach of the peace.”).

         The contractual terms of the CSA mimic the Pennsylvania UCC. The CSA “Lender

Rights” section specifically notes that the Bank’s contractual rights are coextensive with its

UCC rights. This includes the Bank’s right to enforce its perfected security interest by

enforcement procedures under the UCC, including repossession. CSA at 2.

         Plaintiff’s argument that Pennsylvania law applies only to perfection, but Ohio law

applies to every other procedure under the UCC, is not coherent. Attachment, perfection, and

enforcement are all concepts connected to a single security interest. Enforcement procedures

against the property specifically incorporate and rely upon perfection and attachment.

Accordingly, this Court should deny the motion.



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         E.        Choice-Of-Law Principles Indicate Pennsylvania Law Applies To Plaintiff’s
                   Claims.

         Even if the contractual terms do not apply, choice-of-law principles indicate

Pennsylvania law should still govern Plaintiff’s claims. “A federal court exercising diversity

jurisdiction must apply the choice of law rules of the forum state.” Kruzits, 40 F.3d at 55.

Therefore, Pennsylvania choice-of-law rules govern.

         “Pennsylvania uses a ‘hybrid’ choice of law approach that combines the ‘governmental

interest analysis’ with the Second Restatement of Conflict’s ‘most significant relationship’ test.”

Panthera Rail Car LLC v. Kasgro Rail Corp., 985 F. Supp. 2d 677, 696 (W.D. Pa. 2013);

Griffith v. United Air Lines, Inc., 416 Pa. 1, 22-23 (1964); Lacey v. Cessna Aircraft Co., 932

F.2d 170, 187 (3d Cir.1991). The first step is to “determine whether there is a relevant

difference between the law of the jurisdictions whose laws potentially apply, i.e., whether there

is a conflict.” Id. If there is no relevant difference, “then there is no conflict at all, and a choice

of law analysis is unnecessary.” Panthera, 985 F. Supp. 2d at 696. (quoting Hammersmith v. TIG

Ins. Co., 480 F.3d 220, 230 (3d Cir. 2007); Huber v. Taylor, 469 F.3d 67, 74 (3d Cir.2006) (“the

district court sitting in diversity may refer interchangeably to the laws of the states whose laws

potentially apply.”).

         If there is a relevant difference between the two jurisdictions, the Court “must examine

the interests and policies underlying the law of each jurisdiction and determine whether the

conflict is ‘true,’ ‘false,’ or ‘unprovided for.’” Panthera, 985 F. Supp. 2d at 696. Only if there is

a “true” conflict—if both jurisdictions’ interests would be impaired by the application of the

other’s laws—must the Court “determine which state has the greater interest in the application of

its law.” Id. (quoting Pac. Emp. Ins. Co. v. Global Reins. Corp. of Am., 693 F.3d 417, 436 (3d

Cir. 2012)). The Court determines this by “weigh[ing] each state’s contacts on a qualitative


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scale according to their relation to the policies and interests underlying the particular issue.” Id.

Factors in making this determination include those “set out in the Second Restatement of

Conflicts.” Panthera, 985 F. Supp. 2d at 700.

                   1.   An actual conflict between Ohio and Pennsylvania law exists.

         Plaintiff alleges two causes of action, both regarding the statutory notice requirements of

the UCC. Plaintiff pleads violations of the relevant Pennsylvania UCC statute, 13 Pa. C.S.A. §§

9613-16. The relevant Ohio UCC statute is ORC §§ 1309.613-16. Although these statutes are

nearly the same, Ohio and Pennsylvania have differed in interpreting these notice requirements.

         Pennsylvania courts have interpreted 13 Pa. C.S.A. § 9614 to be satisfied when a

repossession notice stated collateral would be sold “at public or private sale.” Fid. Consumer

Disc. Co. v. Clark, 482 A.2d 580, 583 (Pa. Super. Ct. 1984) (notice satisfied Pennsylvania law

because creditor “provided reasonable notice as to the time after which a private sale was to be

made”). Ohio courts have conflicting authority regarding how stringently ORC § 1309.614

should be interpreted. Compare First Bank of Ohio v. Wigfield, 2008 WL 747742, *4 (Ct. App.

Ohio 2008) (collateral sold at private sale; no violation though notice failed to specify whether

sale would be public or private) with Liberty Nat. Bank of Fremont v. Greiner, 62 Ohio App. 2d

125, 128-29 (Ohio Ct. App. 1978) (notice that included information about a public sale is

“inherently misleading” and did not constitute proper notice of a “private sale”). Because

Pennsylvania and Ohio courts interpret the relevant UCC provision differently, an actual conflict

exists between the states. McDonald v. Whitewater Chall., Inc., 116 A.3d 99, 106 (2015)

(“actual conflict” where “relevant differences exist” between state law).




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                   2.   No true conflict exists because only Pennsylvania has an interest in having
                        its laws applied.

         “A false conflict exists if only one jurisdiction's governmental interests would be

impaired by the application of the other jurisdiction’s law.” Lacey, 932 F.2d at 187. “The

purpose of [the UCC-required] notice is to give the debtor an opportunity either to discharge the

debt and redeem the collateral, to produce another purchaser or to see that the sale is conducted

in a commercially reasonable manner.” 4 White, Summers, & Hillman, Uniform Commercial

Code § 34:30 (6th ed.). Accordingly, Pennsylvania has an interest because both the debtor and

collateral reside there. Though their jurisprudence may differ, each state’s UCC statutes share

the same purpose of providing notice to the debtor. Applying Pennsylvania law will not impair

Ohio’s statutory purpose because notice must be provided.

         Because Ohio’s interests will not be impaired, this is a false conflict, and Pennsylvania

law applies. Compare Lacey, 932 F.2d at187 (holding that where a false conflict exists, “the

court must apply the law of the state whose interests would be harmed if its law were not

applied.”) with McDonald, 116 A.3d at 109 (“[T]he fact that [plaintiff] is a resident of New

York, which has adopted a plaintiff-protecting rule, and [defendant] is a resident of

Pennsylvania, which has adopted a defendant-protecting rule, demonstrates a true conflict.”).

                   3.   Pennsylvania has the greater interest in having its laws applied.

         Even if Ohio’s interests would be impaired if Pennsylvania law applies, application of

choice-of-law principles still produces the same result: application of Pennsylvania law.

“Pennsylvania courts, adopting the approach of the Restatement (Second) of Conflict of Laws,

consider the following contracts relevant to determining the appropriate choice of law in an

action for breach of contract: (1) the place of contracting; (2) the place of negotiation of the

contract; (3) the place of performance; (4) the location of the subject matter of the contract; and


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(5) the domicile, residence, nationality, place of incorporation, and place of business of the

parties.” Toll v. Tannenbaum, 982 F. Supp. 2d 541, 550 (E.D. Pa. 2013), aff’d, 596 F. App’x 108

(3d Cir. 2014); see also Restatement (2d) of Conflicts of Law § 188(2) (1971).

         The place of contracting (where debtor accepted the contract) and performance weigh in

favor of Pennsylvania because Plaintiff purchased and refinanced his vehicle in Pennsylvania.

Howard Sav. Bank v. Cohen, 414 Pa. Super. 555, 563 (1992) (“Generally, absent a choice of law

provision in the contract, a contract is governed by the law of the state in which the contract is

signed.”). The vehicle, the subject matter of the contract, was maintained by Plaintiff in

Pennsylvania, weighing in favor of Pennsylvania. As for domicile, Plaintiff resides in

Pennsylvania and the Bank is located in Ohio. Considering these factors together, application of

Restatement § 188 favors applying Pennsylvania law. Powers v. Lycoming Engines, 272 F.R.D.

414, 423 (E.D. Pa. 2011) (“[w]eighing the contacts on a qualitative scale,” the state where the

plane was purchased had the most significant relationship with the contract).

         Consideration of the factors outlined in § 6 of the Restatement, which are also applicable,

does not change the outcome. See Restatement (2d) of Conflict of Laws § 6; see Hammersmith,

480 F.3d at 235; Toll, 982 F. Supp. 2d at 550. First, the needs of interstate and international

systems are not affected, so this factor does not demonstrate a greater interest of either state. The

relevant policies in Pennsylvania and Ohio, namely the notice requirements under each state’s

UCC, do not differ so greatly that this factor weighs heavily on either side. Both states have a

policy interest, expressed in statute, of requiring notice to debtors prior to sale of collateral.

         However, Pennsylvania’s interest in this enforcement outweighs Ohio’s interest because

the debtor resides in Pennsylvania. The parties also agreed via contract, that the issues related to

the procedural notice and repossession requirements would be litigated under Pennsylvania law.



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And Plaintiff has conducted the entire transaction from Pennsylvania, sued in Pennsylvania,

alleged Pennsylvania statutory violations—indicating he expected Pennsylvania law to apply.

         Furthermore, the UCC of a given state generally “applies to transactions bearing an

appropriate relation to this state.” 13 Pa. C.S.A. § 1301; ORC 1301.301; see also UCC § 9-

303(c) (location where a certificate of title for goods was filed—like a car—governs perfection

and priority of security interests); UCC § 9-301 (local law of jurisdiction where debtor is located

governs perfection, effect of perfection, and priority of security interests); see also Compl. ¶¶ 6-

10 (admitting car was purchased, financed, and refinanced in Pennsylvania). Because the

transaction between the Bank and Plaintiff bear a relation to Pennsylvania where the debtor and

collateral reside, Pennsylvania law should apply. The Restatement § 6 goal of certainty,

predictability and uniformity is served by application of Pennsylvania law to this debtor—as it

would in other cases. And the application of Pennsylvania law in a Pennsylvania federal district

court provides relative ease.

         For all of these reasons, Pennsylvania has the greater interest in having its law applied,

and Pennsylvania law should govern this dispute. Chestnut v. Ped. Homecare of Am., Inc., 420

Pa. Super. 598, 605 (1992) (applying Pennsylvania law where “performance, contracting,

location of the subject matter and . . . residence were all in Pennsylvania.”); Hammersmith, 480

F.3d at 235 (applying state law with “the most significant relationship” to the contract and the

“greatest governmental interest”).4

III.     CONCLUSION.

         For these reasons, Pennsylvania law applies, and this Court should deny the Motion.



4
  Plaintiff’s block quote from Atlantic Marine Constr. Co. v. U.S. D.Ct. W.D. Tex., 571 U.S. 49, 63-68 (2013) is not
applicable here because it concerns forum selection, not choice-of-law. Here, Plaintiff moves to determine which
state law governs, not which forum is appropriate. As such, Plaintiff’s citations to Atlantic Marine are inapposite.

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                                                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 15, 2019, a copy of the foregoing was filed electronically.
 Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
 indicated on the electronic filing receipt. Parties may access this filing through the Court’s
 system.


                                                        /s/ Albert G. Lin
                                                        Albert G. Lin




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